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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


                                              §
                                              §
WAG ACQUISITION, L.L.C.,                      §
                                              §
                           Plaintiff,         §
v.                                            §
                                              §    No. 6:21-cv-00816-ADA
GOOGLE LLC and                                §    Jury Trial Demanded
YOUTUBE, INC.,                                §
                                              §
                           Defendants.        §



                            CASE READINESS STATUS REPORT

       Plaintiff WAG Acquisition, L.L.C. (“WAG”) and Defendants Google LLC and YouTube,

Inc. 1 (collectively, “Google”), hereby provide the following status report.

                                  FILING AND EXTENSIONS

       WAG’s Complaint was filed on August 6, 2021. There was one extension for Google to

respond to WAG’s Complaint on November 1, 201—an extension of a total of 46 days.

                              RESPONSE TO THE COMPLAINT

       Google responded to the Complaint by filing its Motion to Dismiss on November 1, 2021

(Dkt. No. 17). Google has not yet filed any answer or counterclaims.

                                        PENDING MOTIONS

       Google’s Motion to Dismiss (Dkt. No. 17) is the only presently pending motion.



1
 As noted in Defendants’ Rule 7.1 Disclosure and Defendants’ Motion to Dismiss, WAG named
“YouTube, Inc.” in its Complaint (see Dkt. 1.) This is not the correct entity. Google LLC’s
subsidiary is actually YouTube, LLC.
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                     RELATED CASES IN THIS JUDICIAL DISTRICT

        There is one (1) related case in this Judicial District: WAG Acquisition, L.L.C. v.

Amazon.com, Inc., et al., No. 6:21-cv-00815-ADA. 2

                              IPR, CBM, AND OTHER PGR FILINGS

        There are presently no known IPR, CBM, or other PGR filings pertaining to the three

asserted patents.

                     NUMBER OF ASSERTED PATENTS AND CLAIMS

        WAG has asserted three patents and a total of 40 claims. The asserted patent(s) are U.S.

Patent Nos. 9,742,824; 9,729,594; and 9,762,636.

                         APPOINTMENT OF TECHNICAL ADVISER

        WAG and Google (collectively, “the Parties”) do not request a technical adviser to be

appointed to the case to assist the Court with claim construction or other technical issues at this

time.

                                 MEET AND CONFER STATUS

        The Parties met and conferred. The Parties have no pre-Markman issues to raise at the

CMC beyond Google’s position that this case should be considered a CRSR Related Case with the

case against Netflix, Inc..




2
  There is another case that involves the same patents pending in this Judicial District, WAG
Acquisition, L.L.C. v. Netflix, Inc., No. 6:21-cv-01083-ADA. It is WAG’s position that, as that
case was filed more than 30 days after these cases, it should not be considered a CRSR Related
Case as set forth in this Court’s definition of CRSR Related Cases in its Amended Standing Order
Regarding Notice of Readiness for Patent Cases, dated June 16, 2021. It is Google’s position that,
for purposes of judicial economy and efficiency, WAG’s case asserting the same patents against
Netflix should be considered a related case. This case, as well as WAG’s case against Amazon,
are in their early stages and Google believes that these cases should proceed on the same schedule
and the Court should only hold one Markman hearing pertaining to terms from the asserted patents.
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Dated:   November 8, 2021

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